               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 1 of 14




 1

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9     THE PHOENIX INSURANCE COMPANY,                   NO.
10                           Plaintiff,                 COMPLAINT FOR DECLARATORY
11                                                      JUDGMENT
              vs.
12
       RJB WHOLESALE INC., a Washington
13     Corporation; JEFFREY CASTLEBERRY and
       “JANE DOE” CASTLEBERRY, husband and
14
       wife and the marital community composed
15     thereof,

16                           Defendant.

17          Plaintiff The Phoenix Insurance Company (“Travelers”) brings this Complaint for

18   Declaratory Judgment against the defendant, RJB Wholesale Inc. (“RJB”).

19                                I.      NATURE OF THE ACTION
20          1.1     This is an insurance coverage action seeking declaratory relief pursuant to

21   28 U.S.C. §§ 2201 and 2202. Travelers seeks a determination that it has no duty to defend or

22   indemnify RJB under a policy of insurance issued to RJB by Travelers with respect to a motion

23   for an award of attorney’s fees, an order granting said motion, and an appeal therefrom, all filed

24   in an action styled RJB Wholesale, Inc. v. Jeffrey Castleberry et al., No. 2:16-cv-01829-MJP (W.D.

25   Wash.) (the “Underlying Lawsuit”).



      COMPLAINT FOR DECLARATORY
                                                      -1-
      JUDGMENT
                                                                                LETHER & ASSOCIATES PLLC.
                                                                       1848 WESTLAKE AVENUE N, SUITE 100
                                                                                          SEATTLE, WA 98109
                                                                           P: (206) 467-5444 F: (206) 467-5544
               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 2 of 14



                                            II.       THE PARTIES
 1
             2.1     Plaintiff The Phoenix Insurance Company is an insurance company organized
 2
     under the laws of and having its principal place of business in the state of Connecticut. It is
 3
     authorized to do business in the state of Washington and elsewhere.
 4
             2.2     Defendant RJB Wholesale, Inc. is a Washington corporation with its principal place
 5
     of business in Kirkland, King County, Washington.
 6
             2.3     Defendants Jeffrey Castleberry and “Jane Doe” Castleberry are Washington
 7
     citizens residing within the state of Washington and further comprise a marital community.
 8

 9                                 III     JURISDICTION AND VENUE
             3.1     This Court has subject matter jurisdiction under 28 U.S.C. §§ 2201, 2202, 1332(a)
10
     and Rule 57 of the Federal Rules of Civil Procedure.
11
             3.2     An actual and justiciable controversy between Travelers and RJB exists within the
12
     meaning of 28 U.S.C. § 2201 regarding whether Travelers has a duty to defend or indemnify RJB
13
     under the aforementioned policy with respect to the motion, order, and appeal filed in the
14
     Underlying Lawsuit, as more particularly described below.
15
             3.3     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) because the
16
     amount in controversy exceeds the sum or value of $75,000, exclusive of interests and costs, and
17
     the suit is between citizens of different states.
18
             3.4     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a substantial part
19
     of the events or omissions giving rise to this claim occurred in this judicial district and the
20
     defendants reside in this judicial district.
21
                                                    IV.   FACTS
22

23   A.      The Underlying Lawsuit

24           4.1     On November 28, 2016, RJB filed its complaint in the Underlying Lawsuit against

25   Jeffrey Castleberry (“Castleberry”) and Jane Doe Castleberry.




      COMPLAINT FOR DECLARATORY
                                                          -2-
      JUDGMENT
                                                                                  LETHER & ASSOCIATES PLLC.
                                                                         1848 WESTLAKE AVENUE N, SUITE 100
                                                                                            SEATTLE, WA 98109
                                                                             P: (206) 467-5444 F: (206) 467-5544
               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 3 of 14




 1          4.2     In its complaint, RJB alleged that Castleberry had been employed by RJB as a sales
 2   representative, had left that employment to work for a competitor of RJB, and had misappropriated
 3   trade secrets and confidential information of RJB.
 4          4.3     The Underlying Lawsuit proceeded on nine causes of action: (I) Violation of the
 5   Computer Fraud and Abuse Act; (II) Violation of the Economic Espionage Act, as Amended by the
 6   Defend Trade Secrets Act; (III) Misappropriation of Trade Secrets (under Washington’s Uniform
 7   Trade Secrets Act); (IV) Breach of Contract; (V) Breach of Fiduciary Duty and Duties of Loyalty;
 8   (VI) Conversion and/or Trespass to Chattel; (VII) Tortious Interference; (VIII) Unjust Enrichment;
 9   and (IX) Claim for Accounting.
10          4.4     On January 30, 2017, Castleberry filed an answer to RJB’s complaint in the
11   Underlying Lawsuit. Castleberry’s answer included a prayer for relief in which he sought “An
12   award … of his attorney’s fees, costs, and interest, as may be allowed by rule, statute, or
13   contract….”
14          4.5     Castleberry did not file a counterclaim against RJB in the Underlying Lawsuit.
15          4.6     On August 16, 2018, the trial court judge overseeing the Underlying Lawsuit granted
16   summary judgment in favor of Castleberry with respect to all of the claims in RJB’s complaint.
17          4.7     On August 30, 2018, Castleberry filed a Motion for Award of Attorney’s Fees and
18   Costs (the “Motion”) on the basis that the second count of RJB’s complaint, Violation of the
19   Economic Espionage Act, as Amended by the Defend Trade Secrets Act, 18 U.S.C. § 1836(b)(3)(D)
20   (the “Federal Trade Secrets Claim”) and the third count of RJB’s complaint, Misappropriation of
21   Trade Secrets under Washington’s Uniform Trade Secrets Act, RCW 19.108.040 (the “State Trade
22   Secrets Claim”) were not raised in good faith.
23          4.8     On October 24, 2018, the Court in the Underlying Lawsuit issued an Order Granting
24   Motion for Attorney Fees (the “Order”), finding that the Federal Trade Secrets Claim and State
25



      COMPLAINT FOR DECLARATORY
                                                      -3-
      JUDGMENT
                                                                               LETHER & ASSOCIATES PLLC.
                                                                      1848 WESTLAKE AVENUE N, SUITE 100
                                                                                         SEATTLE, WA 98109
                                                                          P: (206) 467-5444 F: (206) 467-5544
               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 4 of 14




 1   Trade Secrets Claim were made in bad faith, ordering RJB to pay Castleberry’s attorney’s fees in
 2   the amount of $293,711.00, and referring Castleberry’s Bill of Costs to the Deputy in Charge.
 3           4.9    On October 25, 2018, the Deputy in Charge filed a Taxation of Costs against RJB
 4   and in favor of Castleberry in the amount of $1,543.77.
 5           4.10   On October 30, 2018, RJB filed a Notice of Appeal, appealing to the United States
 6   Court of Appeals for the Ninth Circuit from a number of orders entered in the Underlying Lawsuit,
 7   including the order granting summary judgment, the Order, and the Taxation of Costs. The appeal
 8   is currently pending in the Ninth Circuit under Docket No. 18-35916.
 9   B.      The Tender to Travelers
10           4.11   On March 6, 2019, RJB tendered its defense to Travelers with respect to
11   Castleberry’s answer, the Motion, the Order, and RJB’s appeal under the commercial insurance
12   policy described below.
13           4.12   Travelers responded to the tender by letter dated April 25, 2019, denying coverage
14   to RJB.
15           4.13   RJB, through counsel, objected to Travelers’ denial of coverage and asked
16   Travelers to reconsider; counsel exchanged multiple emails with Travelers in addition to in-person
17   conversations about the claim. On July 25, 2019, Travelers issued a letter to RJB agreeing to
18   provide a defense to RJB pursuant to an express reservation of rights.
19
     C.      The Travelers Policy
20           4.14   Travelers issued a commercial insurance policy designated as policy number Y-
21   630-4H187386 (the “Policy”) to RJB with a policy period of November 15, 2016 to November 15,
22   2017.
23           4.15   The Policy has limits of $1,000,000 per occurrence and $1,000,000 for personal
24   and advertising injury, subject to a products-completed operations aggregate limit of $2,000,000,
25   and a general aggregate of $2,000,000.



      COMPLAINT FOR DECLARATORY
                                                      -4-
      JUDGMENT
                                                                                LETHER & ASSOCIATES PLLC.
                                                                       1848 WESTLAKE AVENUE N, SUITE 100
                                                                                          SEATTLE, WA 98109
                                                                           P: (206) 467-5444 F: (206) 467-5544
           Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 5 of 14




 1       4.16   The Policy includes the following provisions:
 2
                COVERAGE A BODILY INJURY AND PROPERTY
 3              DAMAGE LIABILITY

 4              1.     Insuring Agreement

 5                     a.     We will pay those sums that the insured becomes
                              legally obligated to pay as damages because of
 6
                              “bodily injury” or “property damage” to which this
 7                            insurance applies. We will have the right and duty to
                              defend the insured against any “suit” seeking those
 8                            damages. However, we will have no duty to defend
                              the insured against any “suit” seeking damages for
 9                            “bodily injury” or “property damage” to which this
                              insurance does not apply. We may, at our discretion,
10
                              investigate any “occurrence” and settle any claim or
11                            “suit” that may result.
                              ...
12                     b.     This insurance applies to “bodily injury” and
                              “property damage” only if:
13

14                            (1)     The “bodily injury” or “property damage” is
                                      caused by an “occurrence” that takes place in
15                                    the “coverage territory”;

16                            (2)     The “bodily injury” or “property damage”
                                      occurs during the policy period;
17

18                            (3)     Prior to the policy period, no insured listed
                                      under Paragraph 1. of Section II – Who Is An
19                                    Insured and no “employee” authorized by
                                      you to give or receive notice of an
20                                    “occurrence” or claim, knew that the “bodily
                                      injury” or “property damage” had occurred,
21                                    in whole or in part. . .
22
                COVERAGE B PERSONAL AND ADVERTISING INJURY
23              LIABILITY

24              1.     Insuring Agreement
25                     a.     We will pay those sums that the insured becomes
                              legally obligated to pay as damages because of


     COMPLAINT FOR DECLARATORY
                                                 -5-
     JUDGMENT
                                                                           LETHER & ASSOCIATES PLLC.
                                                                  1848 WESTLAKE AVENUE N, SUITE 100
                                                                                     SEATTLE, WA 98109
                                                                      P: (206) 467-5444 F: (206) 467-5544
          Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 6 of 14



                          “personal and advertising injury” to which this
 1
                          insurance applies. We will have the right and duty to
 2                        defend the insured against any “suit” seeking those
                          damages. However, we will have no duty to defend
 3                        the insured against any “suit” seeking damages for
                          “personal and advertising injury” to which this
 4                        insurance does not apply. We may, at our discretion,
                          investigate any offense and settle any claim or “suit”
 5
                          that may result.
 6
                   ...
 7                 b.     This insurance applies to “personal and advertising
                          injury” caused by an offense arising out of your
 8                        business but only if the offense was committed in the
                          “coverage territory” during the policy period.
 9
                          ...
10           2.    Exclusions
11                 This insurance does not apply to:
12                 a.     Knowing Violation of the Rights of Another
13                        “Personal and advertising injury” caused by or at the
14                        direction of the insured with the knowledge that the
                          act would violate the rights of another and would
15                        inflict “personal and advertising injury”.

16                 b.     Material Published With Knowledge of Falsity
17                        “Personal injury” or “advertising injury” arising out
                          of oral or written publication, including publication
18                        by electronic means, of material, if done by or at the
19                        direction of the insured with knowledge of its falsity.

20                 c.     Material Published Prior to Policy Period
                          (1)    “Personal injury” or “advertising injury”
21
                                 arising out of oral or written publication,
22                               including publication by electronic means, of
                                 material whose first publication took place
23                               before the beginning of the policy period; . . .
24                 i.     Intellectual Property
25                        “Personal injury” or “advertising injury” arising out
                          of any actual or alleged infringement or violation of


     COMPLAINT FOR DECLARATORY
                                              -6-
     JUDGMENT
                                                                        LETHER & ASSOCIATES PLLC.
                                                               1848 WESTLAKE AVENUE N, SUITE 100
                                                                                  SEATTLE, WA 98109
                                                                   P: (206) 467-5444 F: (206) 467-5544
          Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 7 of 14



                           any of the following rights or laws, or any other
 1
                           “personal injury” or “advertising injury” alleged in
 2                         any claim or “suit” that also alleges any such
                           infringement or violation:
 3
                           (1)     Copyright;
 4                         (2)     Patent;
 5                         (3)     Trade dress;
                           (4)     Trade name;
 6
                           (5)     Trademark;
 7                         (6)     Trade secret; or
 8                         (7)     Other intellectual property rights or laws.

 9                      This exclusion does not apply to:
                        (1)    “Advertising injury” arising out of any actual
10
                               or alleged infringement or violation of
11                             another’s copyright, “title” or “slogan” in
                               your “advertisement”; or
12                      (2)    Any other “personal injury” or “advertising
13                             injury” alleged in any claim or “suit” that also
                               alleges any such infringement or violation of
14                             another’s copyright, “title” or “slogan” in
                               your “advertisement”.
15                             ...
16           SECTION V – DEFINITIONS
             ...
17
             3.     “Bodily injury” means bodily injury, mental anguish, mental
18                  injury, shock, fright, disability, humiliation, sickness or
                    disease sustained by a person, including death resulting from
19                  any of these at any time.
20
                    ...
21           13.    “Occurrence” means an accident, including continuous or
                    repeated exposure to substantially the same general harmful
22                  conditions.
23                  ...
24                  17.    “Property damage” means:

25                  a.     Physical injury to tangible property, including all
                           resulting loss of use of that property. All such loss of


     COMPLAINT FOR DECLARATORY
                                               -7-
     JUDGMENT
                                                                          LETHER & ASSOCIATES PLLC.
                                                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                                    SEATTLE, WA 98109
                                                                     P: (206) 467-5444 F: (206) 467-5544
             Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 8 of 14



                                use shall be deemed to occur at the time of the
 1
                                physical injury that caused it; or
 2                       b.     Loss of use of tangible property that is not physically
                                injured. All such loss of use shall be deemed to occur
 3                              at the time of the “occurrence” that caused it.

 4                       “Property damage” does not include loss of or damage to
                         “electronic media and records.”
 5

 6                18.    “Suit” means a civil proceeding in which damages because
                         of “bodily injury,” “property damage” or “personal and
 7                       advertising injury” to which this insurance applies are
                         alleged. “Suit” includes:
 8
                         a.     an arbitration proceeding in which such damages are
 9
                                claimed and to which the insured must submit or
10                              does submit with our consent; or
                         b.     any other alternative dispute resolution proceeding in
11                              which such damages are claimed and to which the
                                insured submits with our consent.
12

13   Policy Form CG 00 01 10 01 as modified by form CG D2 56 11 03, form CG D4 71 01 15 and
     form CG D4 58 07 13
14
                  “Advertising injury”:
15
                  a.     Means injury, other than “personal injury”, caused by one or
16                       more of the following offenses:
                         (1)    Oral or written publication, including publication by
17                              electronic    means,     of    material    in    your
18                              “advertisement” that slanders or libels a person or
                                organization or disparages a person’s or
19                              organization’s goods, products or services, provided
                                that the claim is made or the “suit” is brought by a
20                              person or organization that claims to have been
                                slandered or libeled, or that claims to have had its
21                              goods, products or services disparaged;
22                       (2)    Oral or written publication, including publication by
                                electronic    means,     of    material    in    your
23                              “advertisement” that:
24                              (a)     Appropriates a person's name, voice,
                                        photograph or likeness; or
25                              (b)     Unreasonably places a person in a false light;
                         or


     COMPLAINT FOR DECLARATORY
                                                    -8-
     JUDGMENT
                                                                              LETHER & ASSOCIATES PLLC.
                                                                     1848 WESTLAKE AVENUE N, SUITE 100
                                                                                        SEATTLE, WA 98109
                                                                         P: (206) 467-5444 F: (206) 467-5544
             Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 9 of 14



                          (3)   Infringement of copyright, “title” or “slogan” in your
 1
                                “advertisement”, provided that the claim is made or
 2                              the “suit” is brought by a person or organization that
                                claims ownership of such copyright, “title” or
 3                              “slogan”.

 4                b.     Includes “bodily injury” caused by one or more of the
                         offenses described in Paragraph a. above.
 5

 6                “Personal injury”:
                  a.     Means injury, other than “advertising injury”, caused by one
 7
                         or more of the following offenses:
 8
                         (1)    False arrest, detention or imprisonment;
 9                       (2)    Malicious prosecution;
10                       (3)    The wrongful eviction from, wrongful entry into, or
                                invasion of the right of private occupancy of a room,
11                              dwelling or premises that a person occupies,
                                provided that the wrongful eviction, wrongful entry
12                              or invasion of the right of private occupancy is
13                              committed by or on behalf of the owner, landlord or
                                lessor of that room, dwelling or premises;
14                       (4)    Oral or written publication, including publication by
                                electronic means, of material that slanders or libels a
15                              person or organization or disparages a person’s or
16                              organization’s goods, products or services, provided
                                that the claim is made or the “suit” is brought by a
17                              person or organization that claims to have been
                                slandered or libeled, or that claims to have had its
18                              goods, products or services disparaged; or
19                       (5)    Oral or written publication, including publication by
                                electronic means, of material that:
20                              (a)     Appropriates a person's name, voice,
21                                      photograph or likeness; or
                                (b)     Unreasonably places a person in a false light.
22
                  b.     Includes “bodily injury” caused by one or more of the
23                       offenses described in Paragraph a. above.
24
     Policy Form CG D4 71 01 15.
25
           4.17   The Policy further provides as follows with regard to Supplementary Payments:


      COMPLAINT FOR DECLARATORY
                                                    -9-
      JUDGMENT
                                                                              LETHER & ASSOCIATES PLLC.
                                                                     1848 WESTLAKE AVENUE N, SUITE 100
                                                                                        SEATTLE, WA 98109
                                                                         P: (206) 467-5444 F: (206) 467-5544
             Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 10 of 14




 1
                  SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
 2
                  1.     We will pay, with respect to any claim we investigate or
 3                       settle, or any “suit” against an insured we defend:

 4                       a.     All expenses we incur.
 5
                                ...
 6                       c.     The cost of bonds to release attachments, but only for
                                bond amounts within the applicable limit of
 7                              insurance. We do not have to furnish these bonds.
 8                       d.     All reasonable expenses incurred by the insured at
                                our request to assist us in the investigation or defense
 9
                                of the claim or “suit”, including actual loss of
10                              earnings up to $500 a day because of time off from
                                work.
11
                         e.     All costs taxed against the insured in the “suit”.
12

13                       f.     Prejudgment interest awarded against the insured on
                                that part of any judgment we pay. If we make an
14                              offer to pay the applicable limit of insurance, we will
                                not pay any prejudgment interest based on that period
15                              of time after the offer.
16                       g.     All interest of the full amount of any judgment that
17                              accrues after entry of the judgment and before we
                                have paid, offered to pay, or deposited in court the
18                              part of the judgment that is within the applicable
                                limit of insurance.
19
                         These payments will not reduce the limits of insurance.
20

21   Policy Form CG 00 01 10 01 as modified by CG D4 58 07 13.

22         4.18   The Policy also contains the following Conditions:

23                SECTION IV – COMMERCIAL GENERAL LIABILITY
                  CONDITIONS
24
                  ...
25



      COMPLAINT FOR DECLARATORY
                                                    - 10 -
      JUDGMENT
                                                                                LETHER & ASSOCIATES PLLC.
                                                                       1848 WESTLAKE AVENUE N, SUITE 100
                                                                                          SEATTLE, WA 98109
                                                                           P: (206) 467-5444 F: (206) 467-5544
          Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 11 of 14



              2.    Duties In The Event of Occurrence, Offense, Claim Or
 1
                    Suit
 2
                    a.    You must see to it that we are notified as soon as
 3                        practicable of an “occurrence” or an offense which
                          may result in a claim. To the extent possible, notice
 4                        should include:
 5
                          (1)    How, when and where the “occurrence” or
 6                               offense took place;

 7                        (2)    The names and addresses of any injured
                                 persons or witnesses; and
 8
                          (3)    The nature and location of any injury or
 9
                                 damage arising out of the “occurrence” or
10                               offense.

11                  b.    If a claim is made or “suit” is brought against any
                          insured, you must:
12

13                        (1)    Immediately record the specifics of the claim
                                 or “suit” and the date received; and
14
                          (2)    Notify us as soon as practicable.
15
                          You must see to it that we receive written notice of
16                        the claim or “suit” as soon as practicable.
17
                    c.    You and any other involved insured must:
18
                          (1)    Immediately send us copies of any demands,
19                               notices, summonses or legal papers received
                                 in connection with the claim or “suit”;
20                               ...
21
                    d.    No insured will, except at that insured’s own cost,
22                        voluntarily make a payment, assume any obligation,
                          or incur any expense, other than for first aid, without
23                        our consent.
24
                    e.    The following provisions apply to Paragraph a.
25                        above, but only for purposes of the insurance
                          provided under this Coverage Part to you or any


     COMPLAINT FOR DECLARATORY
                                              - 11 -
     JUDGMENT
                                                                        LETHER & ASSOCIATES PLLC.
                                                               1848 WESTLAKE AVENUE N, SUITE 100
                                                                                  SEATTLE, WA 98109
                                                                   P: (206) 467-5444 F: (206) 467-5544
               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 12 of 14



                                      insured listed in Paragraph 1. or 2. Of Section II –
 1
                                      Who Is An Insured:
 2
                               (1)    Notice of such “occurrence” or offense must be given
 3                                    as soon as practicable only after the “occurrence” or
                                      offense is known to . . . any of your “executive
 4                                    officers” or directors (if you are an organization other
                                      than a partnership, joint venture, limited liability
 5
                                      company or trust) or any “employee” authorized by
 6                                    you to give notice of an “occurrence” or offense.

 7   Policy Form CG 00 01 10 01, as modified by CG D4 58 07 13.
 8           4.19    The Policy also contains the following provision regarding defense costs:
 9
                     B.        If we initially defend and insured (“insured”) or pay for an
10                             insured’s (“insured’s”) defense but later determine that none
                               of the claims (“claims”), for which we provided a defense or
11                             defense costs, are covered under this insurance, we have the
                               right to reimbursement for the defense costs we have
12                             incurred.
13
                               The right to reimbursement under this provision will only
14                             apply to the costs we have incurred after we notify you in
                               writing that there may not be coverage and that we are
15                             reserving our rights to terminate the defense or payment of
                               defense costs and to seek reimbursement for defense costs.
16

17   Policy Form IL 23 11 13.

18                         V.        CLAIM FOR DECLARATORY JUDGMENT

19           5.1     Travelers incorporates the allegations set forth in the preceding paragraphs as if

20   fully set forth herein.

21           5.2     Travelers seeks a declaration that it owes no duty to defend or indemnify RJB under

22   the Policy with respect to any filings in, or any aspect of, the Lawsuit, for the following reasons:

23                   a.        There is no “suit” against RJB.

24                   b.        To the extent that there are any allegations against RJB, they do not allege

25                             a claim for “bodily injury” or “property damage.”




      COMPLAINT FOR DECLARATORY
                                                          - 12 -
      JUDGMENT
                                                                                     LETHER & ASSOCIATES PLLC.
                                                                            1848 WESTLAKE AVENUE N, SUITE 100
                                                                                               SEATTLE, WA 98109
                                                                                P: (206) 467-5444 F: (206) 467-5544
              Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 13 of 14




 1                  c.      To the extent that there are any allegations against RJB, they do not allege
 2                          an “occurrence.”
 3                  d.      To the extent that there are any allegations against RJB, they do not allege
 4                          a claim for “personal injury” or “advertising injury.”
 5                  e.       Travelers has no duty to fund RJB’s affirmative litigation.
 6                  f.     The allegations contained in RJB’s complaint in the Underlying Lawsuit
 7                          trigger the above-described exclusions for “personal injury” or “advertising
 8                          injury” for RJB’s knowing violation of the rights of another, publication of
 9                          false material, publication prior to the policy period, and Intellectual
10                          Property.
11                  g.      The amounts incurred by RJB and/or awarded against RJB are not
12                          recoverable under the Supplementary Payments provisions of the subject
13                          Policy.
14                  h.      Travelers is excused from providing any benefits to RJB under the Policy
15                          with respect to its tender of its defense as set forth above because RJB failed
16                          to timely notify Travelers of the circumstances related to its claim and
17                          RJB’s failure has substantially prejudiced Travelers ability to investigate,
18                          defend, and evaluate the subject claim.
19                  i.     Travelers is entitled to reimbursement of any and all fees and costs incurred
20                          in the defense of RJB.
21          5.3     In addition to the provisions cited above, Travelers pleads all other conditions,
22   terms, provisions, limitations, definitions, and exclusions of the Policy, which also may be found
23   to be applicable to Travelers’ investigation and defense of these claims, and Travelers reserves the
24   right to amend its Complaint for Declaratory Judgment as additional and/or more specific
25   information becomes available.



      COMPLAINT FOR DECLARATORY
                                                        - 13 -
      JUDGMENT
                                                                                   LETHER & ASSOCIATES PLLC.
                                                                          1848 WESTLAKE AVENUE N, SUITE 100
                                                                                             SEATTLE, WA 98109
                                                                              P: (206) 467-5444 F: (206) 467-5544
               Case 2:19-cv-01161-JLR Document 1 Filed 07/25/19 Page 14 of 14




 1           5.4     There is an actual, present, and existing controversy between Travelers and RJB
 2   regarding Travelers’ obligations under the Policy as it relates to the Lawsuit. The Lawsuit is
 3   ongoing and the appeal in the Ninth Circuit is pending.
 4           5.5     Pursuant to 28 U.S.C. § 2201, et seq., St. Paul seeks a judicial declaration of its
 5   rights and duties under the Policy. The Court’s declaration will provide much needed certainty for
 6   the parties and serve the interests of justice.
 7                                    VI.     REQUEST FOR RELIEF
 8           WHEREFORE, The Phoenix Insurance Company requests the following relief:
 9           6.1     For a determination of the rights of the parties under the Policy by way of a
10   declaration that Travelers has no duty to defend or indemnify RJB in connection with any of the
11   filings in the Lawsuit;
12           6.2     For an award of Travelers’ recoverable costs and attorney fees; and
13           6.3     For such other and further relief as this Court may deem just and proper.
14           DATED this 2th day of July, 2019.
15
                                                       LETHER & ASSOCIATES, PLLC
16
                                                       /s/_Thomas Lether___________________
17                                                     /s/ Eric Neal
                                                       Thomas Lether, WSBA No.18089
18                                                     Eric Neal, WSBA No. 31863
                                                       1848 Westlake Avenue N, Suite 100
19                                                     Seattle, WA 98109
                                                       P: (206) 467-5444
20                                                     F: (206) 467-5544
21                                                     tlether@letherlaw.com
                                                       eneal@letherlaw.com
22                                                     Attorneys for Plaintiff The Phoenix Insurance
                                                       Company
23

24

25



      COMPLAINT FOR DECLARATORY
                                                        - 14 -
      JUDGMENT
                                                                                  LETHER & ASSOCIATES PLLC.
                                                                         1848 WESTLAKE AVENUE N, SUITE 100
                                                                                            SEATTLE, WA 98109
                                                                             P: (206) 467-5444 F: (206) 467-5544
